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HOUR|GAN, KLUGER & QU|NN
A PROFESS|ONAL CORPORATION

BYI Nico|e l\/|. Santo, Esquire ATTORNEY FOR PLA|NT|FFS
|DENT|F|CAT|ON N0. 309043

LAW OFF|CES
600 TH|RD AVENUE
KINGSTON, PA 18704-5815

(570_) 287-3000
IN TI-[E UNITED STATES DISTRICT COURT
FOR TI-[E MIDDLE DISTRICT OF PENNSYLVANIA

MARILYN A. GIAMBRA, Individually,
and as the Administratrix of the ESTATE : CIVIL ACTION - LAW
OF PATRICK SAMUEL GIAMBRA,
Plaintiffs
vs. : JURY TRIAL DEMANDED
CHRISTINA DEVORE and SAMARA .
WOOSTER as the Co-Administrators of the :
ESTATE OF JEFFREY R. WOOSTER,
R.L. JOHNSON, INC. and : No.
SUPERIOR TRUCK LINES INC.,
Defendants
COMPLAINT
The Plaintiff, Marilyn A. Giarnbra, Individually, and as the Adrninistratrix
of the Estate of Patrick Sarnuel Giarnbra (hereinafter referred to as "Plaintiff"), by

and through her counsel, Hourigan, Kluger & Quinn, P.C., hereby complains

against the above-named Defendants as follows:

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PARTIES

l. The Plaintiff, Marilyn A. Giambra, is an adult individual Who resides
at 190 East 7‘h Street, Wyoming, Luzerne County, Pennsylvania 18644.

2. The Plaintiff, Marilyn A. Giambra, is the Administratrix of the Estate
of her deceased husband, Patrick Samuel Giarnbra (hereinafter referred to as
“Plaintiffs Decedent”), having been granted Letters Testarnentary by the Register
of Wills of Luzerne County, Pennsylvania on or about April l 1, 2017, following
the death of Patrick Samuel Giarnbra on March 14, 2017.

3. The Defendants, Christina Devore and Samara Wooster, are the Co-
Administrators of the Estate of Jeffrey R. Wooster (hereinafter referred to as
“Defendants' Decedent”), having been appointed by Cayuga County, Surrogate’s
Court, New York on or about May 3, 2016, following the death of Jeffrey R.
Wooster on February 24, 2016.

4. The Defendant, R.L. Johnson, Inc., is a NeW York Corporation With
its principal place of business located at 181 Budd Road, Newark, Wayne County,
NeW York 14513.

5. The Defendant, R.L. Johnson, Inc., engages in the business of

interstate trucking

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6. The Defendant, Superior Truck Lines Inc., is a New York
Corporation with its principal place of business located at 181 Budd Road,
Newark, Wayne County, New York 14513.

7. The Defendant, Superior Truck Lines Inc., engages in the business of
interstate trucking.

JURISDICTION

8. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. § 1332 because: (1) there is complete diversity of citizenship between
the Plaintiff and Defendants; and (2) the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs.

FACTUAL BACKGROUND

9. On September 18, 2015, at approximately 5:50 p.m., the Plaintiff,
Marilyn A. Giambra, and her deceased husband, Patrick Samuel Giambra, were
traveling on Interstate 81 North in their 2009 Hyundai Elantra vehicle bearing
Pennsylvania Registration plate IDOYOGA, at or near mile marker 103 in Pine
Grove Township, Schuylkill County, Pennsylvania, on their way home from an

appointment in Hershey.

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10. The Plaintiff, Marilyn A. Giambra, was driving the aforesaid vehicle
and the Plaintiff‘s Decedent, Patrick Samuel Giambra, was seated in the front
passenger seat.

1 1. On the aforesaid date and time, the Defendants' Decedent, Jeffrey R.
Wooster, was also traveling on Interstate 81 North in a 2011 International
Harvester tractor-trailer, bearing New York Registration plate 30014PC, directly
behind the Plaintiff, Marilyn A. Giambra, and the Plaintiffs Decedent, Patrick
Samuel Giambra.

12. At all times relevant hereto, the Plaintiff believes, and therefore, avers
that the aforesaid 2011 International Harvester tractor-trailer, operated by the
Defendants' Decedent, Jeffrey R. Wooster, was owned by the Defendant, R.L.
Johnson, Inc. and/or the Defendant, Superior Truck Lines Inc.

13. At all times relevant hereto, the Plaintiff believes, and therefore, avers
that the Defendants' Decedent, Jeffrey R. Wooster, was an employee, workman,
servant, and/or agent of the Defendant, R.L. Johnson, Inc. and/or the Defendant,
Superior Truck Lines Inc., and was operating the aforesaid 2011 International
Harvester tractor-trailer within the course and scope of his agency and/or
employment, and under the direction and control of the Defendant, R.L. Johnson,

Inc. and/or the Defendant, Superior Truck Lines Inc.

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14. At all times relevant hereto, the Defendants' Decedent, Jeffrey R.
Wooster, was operating the aforesaid 2011 Intemational Harvester tractor-trailer
with the express or implied consent of the Defendant, R.L. Johnson, Inc. and/or
the Defendant, Superior Truck Lines Inc.

15. On the aforesaid date and time, the Defendant, R.L. Johnson, Inc.
and/or the Defendant, Superior Truck Lines Inc., were the employers of the
Defendants' Decedent, Jeffrey R. Wooster, pursuant to the provisions of the
Pennsylvania Intrastate Motor Carrier Safety Requirements (hereinafter "Il\/ICSR")
and/or Federal Motor Carrier Safety Regulations (hereinafter "FMCSR"). At all
times relevant hereto, the Defendant, R.L. Johnson, Inc. and/or the Defendant,
Superior Truck Lines, Inc., knew or should have known of the safety and roadway
regulations and/or requirements in the Pennsylvania IMCSR and/or FMCSR.

16. At all times relevant hereto, the Defendant, R.L. Johnson, Inc., acted
through its employees, workmen, servants, managing agents, and/or agents
including, but not limited to, Defendants' Decedent, Jeffrey R. Wooster, and the
Defendant, Superior Truck Lines Inc.

17. At all times relevant hereto, the Defendant, Superior Truck Lines Inc.,

acted through its employees, workmen, servants, managing agents, and/or agents

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including, but not limited to, Defendants' Decedent, Jeffrey R. Wooster, and the
Defendant, R.L. Johnson, Inc.

18. At all times relevant hereto, the area of Interstate 81 North in Pine
Grove Township, Schuylkill County, Pennsylvania, in which the Plaintiff, Marilyn
A. Giambra, the Plaintiff‘s Decedent, Patrick Samuel Giambra, and the Defendants'
Decedent, Jeffrey R. Wooster, were traveling, was an active, long-term
construction zone, that consisted of only one lane of travel for traffic traveling
Northbound and one lane of travel for traffic traveling Southbound, with each lane
separated by a concrete barrier, and a posted reduced speed limit of 55 miles per
hour.

19. At all times relevant hereto, there was signage and/or warnings posted
well in advance of the aforesaid long-term construction zone for traffic traveling
Northbound on Interstate 81 , providing notice that the roadway was down to one
lane and the speed limit was reduced to 55 miles per hour.

20. On the aforesaid date, at approximately 5:55 p.m., the Plaintiff,
Marilyn A. Giambra, and the Plaintiffs Decedent, Patrick Samuel Giambra, were
at a stand-still in a line of traffic at or near mile marker 103, near the Ravine exit,
Pine Grove Township, Schuylkill County, Pennsylvania, in the single lane for

Northbound traffic traveling on Interstate 8 l.

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2 l. On the aforesaid date and time, the Defendants' Decedent, Jeffrey R.
Wooster, was operating the aforesaid 2011 International Harvester tractor-trailer
owned by the Defendant, R.L. Johnson, Inc. and/or the Defendant, Superior Truck
Lines, Inc., in the course and scope of his employment by the Defendant, R.L.
Johnson, Inc. and/or the Defendant Superior Truck Line Inc., directly behind the
Plaintiffs aforesaid 2009 Hyundai Elantra vehicle on Interstate 81 North.

22. On the aforesaid date and time, the Defendants' Decedent, Jeffrey R.
Wooster, approached a curve in the roadway on Interstate 81 North, observed that
traffic ahead of him was stopped, including the Plaintiff’s aforesaid 2009 Hyundai
Elantra vehicle, but was driving too fast for conditions, and was unable to bring
the aforesaid 2011 lnternational Harvester tractor-trailer to a complete stop.

23. On the aforesaid date and time, the Plaintiff, Marilyn A. Giambra, and
the Plaintiffs Decedent, Patrick Samuel Giambra, watched helplessly through their
rear and side-view mirrors as the Defendants' Decedent, Jeffrey R. Wooster,
traveling in the aforesaid 2011 International Harvester tractor-trailer, came closer
and closer to their 2009 Hyundai Elantra vehicle until the Defendants' Decedent,
Jeffrey R. Wooster, negligently, carelessly, and/or recklessly violently impacted

the rear of the Plaintiffs aforesaid 2009 Hyundai Elantra vehicle.

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24. The aforesaid impact was so violent it pushed the Plaintiffs aforesaid
2009 Hyundai Elantra vehicle into the rear of the vehicle directly in front of it.

25. The Plaintiff, Marilyn A. Giambra, and the Plaintiffs Decedent,
Patrick Samuel Giambra, both witnessed and/or observed the aforesaid violent
impact and the injuries one another sustained as a result of the same, which caused
each of them to experience significant mental, emotional, and physical distress.

26. On the aforesaid date and time, due to the fact that traffic was at a
complete stop and Interstate 81 North was down to one lane, there was nothing the
Plaintiff, Marilyn A. Giambra, could do to avoid the aforesaid 2009 Hyundai
Elantra vehicle from being impacted by the aforesaid 2011 International Harvester
tractor-trailer operated by Defendants' Decedent, Jeffrey R. Wooster.

27. The Pennsylvania State Police’s investigation of this incident
determined that the first and most harmful event in the aforesaid crash was the
Defendants' Decedent, Jeffrey R. Wooster, violently striking the Plaintiff‘s 2009
Hyundai Elantra vehicle with the aforesaid 2011 International Harvester tractor-
trailer, and the prime factor and/or cause of the subject crash was driver action, as
the Defendants' Decedent, Jeffrey R. Wooster, was driving too fast for conditions,

engaged in other improper driving actions, and was tailgating.

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28, At all times relevant hereto, the Plaintiff, Marilyn A. Giambra, and
the Plaintiffs Decedent, Patrick Samuel Giambra, acted in a safe, careful,
reasonable, and/or prudent manner and in no way caused or contributed to the

injuries and damages hereinafter alleged

COUNT I - NEGLIGENCE

 

MARILYN A. GIAMBRA, INDIVIDUALLY. AND AS THE

ADMINISTRATRIX OF THE ESTATE OF PATRIC_K SAMUEL

GIAMBRA V. ALL DEFENDANTS

29. The Plaintiff hereby incorporates Paragraphs l through 28, inclusive,
of the Complaint as though the same were set forth herein at length.

30. On the aforesaid date and at the aforesaid time and place, the
Defendants' Decedent, Jeffery R. Wooster, operated the 2011 International
Harvester tractor-trailer in such a careless, negligent, and/or reckless manner such
that his conduct was a factual cause of the subject collision and painful injuries
and damages to the Plaintiffs, Marilyn A. Giambra, and Plaintiffs' Decedent,
Patrick Samuel Giambra.

3 l. The carelessness, negligence, and/or recklessness of Defendants'
Decedent, Jeffrey R. Wooster, individually and as the agent, managing agent,

servant, worker and/or employee of the Defendant, R.L. Johnson, Inc. and/or the

Defendant, Superior Truck Lines Inc., consisted of the following:

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In then and there, failing to maintain proper and
adequate control of his 2011 Intemational
Harvester tractor-trailer so as to avoid impacting
the vehicle being operated by the Plaintiff,
Marilyn A. Giambra;

In then and there, failing to pay proper attention
while operating his 2011 lnternational Harvester
tractor-trailer;

In then and there, failing to properly observe the
vehicle being operated by the Plaintiff, Marilyn A.
Giambra;

ln then and there, failing to operate the 2011
International Harvester tractor-trailer at a careful
and prudent speed under the circumstances;

In then and there, failing to appropriately apply his
brakes in order to avoid striking the rear of the
vehicle being operated by the Plaintiff, Marilyn A.
Giambra;

In then and there, operating the aforesaid 201 1
International Harvester tractor-trailer at a Speed
substantially in excess of the safe speed at which
such vehicle should be operated;

In then and there, operating the aforesaid 2011
International Harvester tractor-trailer at a speed
substantially in excess of the posted 55 mile per
hour speed limit in the long-term construction
zone;

In then and there, allowing his attention to be
distracted from the roadway on Interstate 81 North

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in Pine Grove Township, Schuylkill County,
Pennsylvania;

In then and there, failing to take proper
precautions in the operation of the aforesaid 2011
International Harvester tractor-trailer so as to
avoid the collision that occurred with the vehicle
being operated by the Plaintiff, Marilyn A.
Giambra;

In then and there, failing to have the 201 l
International Harvester tractor-trailer under such
control that it could be readily stopped, turned
aside, or the speed thereof slackened upon the
appearance of danger;

ln then and there, failing to take evasive action
and/or failing to take appropriate and timely
evasive action in order to avoid striking the
Plaintiff and the Plaintiffs Decedent;

In then and there, operating his 2011 Intemational
Harvester tractor-trailer in a negligent, careless,
and/or reckless manner without due regard for the
rights and safety of the Plaintiff and the Plaintiffs
Decedent;

In then and there, failing to exercise due care and
caution under all the circumstances;

In then and there, failing to remain alert and
maintain a proper lookout;

In then and there, failing to maintain control of his
201 l International Harvester tractor-trailer so as to
avoid striking the vehicle being operated by the
Plaintiff, Marilyn A. Giambra;

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In then and there, failing to make necessary and
reasonable observations while operating his 2011
International Harvester tractor-trailer;

ln then and there, failing to yield to the right-of-
way of the vehicle being operated by the Plaintiff,
Marilyn A. Giambra;

In then and there, traveling at an excess rate of
speed in a long-term construction Zone;

In then and there, traveling at an excessive rate of
speed despite the fact that he knew or should have
known that the speed limit was reduced in the
aforesaid long-term construction Zone;

In then and there, failing to inspect and/or
adequately inspect his 2011 International
Harvester tractor-trailer;

In then and there, acting in conscious disregard of
the rights and safety of the Plaintiff and the
Plaintiffs Decedent;

ln then and there, violating the both written and
unwritten policies, procedures, rules and/or
guidelines of the Defendant, R.L. Johnson, Inc.
and/or the Defendant, Superior Truck Lines Inc.;

In then and there, failing to apprise himself of
and/or violating the laws of the Commonwealth of
Pennsylvania regarding the operation of motor
vehicles and/or tractor-trailers;

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ln then and there, violating the laws, rules, and
regulations contained in the Pennsylvania IMCSR
and/or FMCSR;

ln then and there, failing to make reasonable and
appropriate observations of the roadway in the
vicinity of the collision when he knew or should
have known of the traffic conditions then and
there existing;

In then and there, failing to bring the aforesaid
2011 International Harvester tractor-trailer to a
complete stop despite knowing or having reason to
know there was a line of stopped traffic directly
ahead of him on Interstate 81 North in Pine Grove
Township, Schuylkill County, Pennsylvania;

ln then and there, failing to maintain and/or
adequately maintain the 2011 International
Harvester tractor-trailer;

In then and there, failing to utilize appropriate
safety equipment;

In then and there, failing to adjust the operation of
his 2011 International Harvester tractor-trailer in
light of the conditions then and there existing;

In then and there, consciously disregarding and/or
ignoring roadway warning and construction Zone
signs;

In then and there, violently striking the rear of the

vehicle being operated by the Plaintiff, Marilyn A.
Giambra;

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ln then and there, failing to act reasonably and
appropriately in response to vehicle, traffic, and
roadway conditions;

In then and there, failing to properly and timely
apply his breaks in such an manner so that his
2011 International Harvester tractor-trailer could
be stopped before violently impacting the rear of
the vehicle being operated by the Plaintiff,
Marilyn A. Giambra;

In then and there, failing to exercise due care and
caution under all the existing circumstances;

In then and there, losing control of his 2011
International Harvester tractor-trailer;

In then and there, continuing to operate the 2011
International Harvester tractor-trailer when it
should have been apparent to him that he was
unable to do so in a safe and reasonable manner;

In then and there, continuing to operate the 2011
International Harvester tractor-trailer when he
knew or should have known that further operation
would impose an unreasonable risk of injury
and/or harm to those traveling upon the roadways,
including Plaintiff, Marilyn A. Giambra and
Plaintiffs Decedent, Patrick Samuel Giambra;

In then and there, violating the laws of the
Commonwealth of Pennsylvania regulating the
operation of motor vehicles and/or commercial
vehicles as more particularly set forth in
Subparagraphs (a) through (kk), inclusive.

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32. The carelessness, negligence, and/or recklessness of the Defendant,

R.L. Johnson, Inc., by and through its agents, managing agents, employees,

workers and/or servants, including, but not limited to the Defendants' Decedent,

Jeffrey R. Wooster, and the Defendant, Superior Truck Lines Inc., consisted of and

includes the following:

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In then and there, failing to properly train,
monitor, and supervise its employees/drivers
including, but not limited to, the Defendants'
Decedent, Jeffrey R. Wooster;

In then and there, being careless, negligent, and/or
reckless through the acts and omissions of its
agents, including Jeffrey R. Wooster, which acts
and omissions are set froth in detail in the
proceeding and subsequent paragraphs of this
Complaint and are incorporated herein as fully as
if those were set forth herein at length;

ln then and there, hiring the Defendants' Decedent,
Jeffrey R. Wooster, despite the fact that it knew or
should have known that he was not capable of
operating a tractor-trailer in a safe and prudent
manner;

In then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate tractor-
trailers in its possession when it knew or should
have know that he was not capable of doing so in a
safe and prudent manner;

In then and there, retaining the Defendants'
Decedent, Jeffrey R. Wooster, when it knew or

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should have known that he had been involved in
two other collisions in the two years and six
months he had been working for the Defendant,
R.L. Johnson, Inc. and/or the Defendant, Superior
Truck Lines Inc.;

ln then and there, hiring and/or retaining the
Defendants' Decedent, Jeffrey R. Wooster, without
appropriately evaluating and/or investigating his
driver history;

ln then and there, failing to train and/or properly
train the Defendants' Decedent, Jeffrey R.
Wooster, prior to allowing him to operate its
tractor-trailers;

In then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate tractor-
trailers in its possession when it knew or should
have known that such operation posed risk and
danger to others lawhllly on the roadway;

In then and there, failing to adopt appropriate
employee manuals and/or training procedures;

In then and there, failing to enforce its employee
manuals and/or training procedures;

In then and there, failing to enforce both the
written and unwritten policies of R.L. Johnson,
Inc. and/or Superior Truck Lines Inc.;

In then and there, failing to ensure that its
employees were aware of and complied with the
written and unwritten policies of R.L. Johnson,
Inc. and/or Superior Truck Lines Inc.;

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In then and there, allowing the Defendants'
Decedent, Jeffrey R. Wooster, to operate
commercial motor vehicles in its possession on a
regular basis prior to qualifying him in accordance
with the Pennsylvania IMCSR and/or FMCSR;

In then and there, failing to adopt and/or enforce
appropriate safety policies and procedures for
drivers;

In then and there, failing to adopt and/or enforce
an effective safety system and/or maintenance
program;

In then and there, failing to implement and/or
enforce an effective safety system;

In then and there, failing to ensure that its
management personnel and employees/drivers
were aware of the requirements of the
Pennsylvania IMCSR, FMCSR, and/or the
Pennsylvania Motor Vehicle Code;

In then and there, consciously violating the
Pennsylvania IMCSR, FMCSR; and/or the
Pennsylvania Motor Vehicle Code;

In then and there, failing to ensure that its
employees and/or agents complied with the

Pennsylvania Motor Vehicle Code, Pennsylvania
IMCSR and/or FMCSR;

In then and there, failing to ensure that its
employees and agents were aware of and complied
with the rules, laws, and regulations pertaining to
and covering the operation of commercial motor
vehicles;

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In then and there, failing to ensure that its
deliveries could be made in a safe manner;

In then and there, failing to inspect and/or properly
maintain the 2011 International Harvester tractor-
trailer operated by the Defendants' Decedent,
Jeffrey R. Wooster;

In then and there, failing to inspect and/or properly
maintain the braking system of the 2011
International Harvester tractor-trailer operated by
the Defendants' Decedent, Jeffrey R. Wooster;

In then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate the 2011
International Harvester tractor-trailer on the public
roadway despite knowing or having reason to
know its braking system had not been inspected
and/ or properly maintained;

ln then and there, violating the applicable rules,
laws, and regulations pertaining to and governing
the operation of commercial motor vehicles;

In then and there, failing to monitor and/or
regulate its drivers’ hours;

In then and there, placing more emphasis on
financial status than the safety of its drivers and

the motoring public;

In then and there, failing to appropriately maintain
the 2011 International Harvester tractor-trailer;

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(cc) In then and there, failing to ensure that its drivers
chose safe and appropriate routes of travel when
operating vehicles in its fleet;

(dd) ln then and there, failing to ensure that its drivers
heeded road warning signs, including those signs
warning of` an upcoming long-term construction
zone with a reduced speed limit;

(ee) In then and there, failing to ensure that its drivers
heeded to roadway restrictions in long-term
construction zones;

(ff) In then and there, failing to ensure that its drivers
heeded to speed limit reductions in long-term
construction Zones;

(gg) In then and there, violating the laws of the
Commonwealth of Pennsylvania regulating the
operation of motor vehicles and/or commercial
vehicles as more particularly set forth in
subparagraphs (a) through (ff), inclusive.

33. The carelessness, negligence, and/or recklessness of the Defendant,
Superior Truck Lines Inc. by and through its agents, managing agents, employees,
workers and/or servants, including, but not limited to the Defendants' Decedent,
Jeffrey R. Wooster, and R.L. Johnson, Inc., consisted of and includes the
following:

(a) In then and there, failing to properly train,
monitor, and supervise its employees/drivers

including, but not limited to, the Defendants'
Decedent, Jeffrey R. Wooster;

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In then and there, being careless, negligent, and/or
reckless through the acts and omissions of its
agents, including Jeffrey R. Wooster, which acts
and omissions are set froth in detail in the
proceeding and subsequent paragraphs of this
Complaint and are incorporated herein as fully as
if those were set forth herein at length;

In then and there, hiring the Defendants' Decedent,
Jeffrey R. Wooster, despite the fact that it knew or
should have known that he was not capable of
operating a tractor-trailer in a safe and prudent
manner;

In then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate tractor-
trailers in its possession when it knew or should
have know that he was not capable of doing so in a
safe and prudent manner;

In then and there, retaining the Defendants'
Decedent, Jeffrey R. Wooster, when it knew or
should have known that he had been involved in
two other collisions in the two years and six
months he had been working for the Defendant,
Superior Truck Lines, Inc. and/or the Defendant,
R.L. Johnson, Inc.

In then and there, hiring and/or retaining the
Defendants' Decedent, Jeffrey R. Wooster, without
appropriately evaluating and/or investigating his
driver history;

In then and there, in failing to train and/or
properly train the Defendants' Decedent, Jeffrey R.

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Wooster, prior to allowing him to operate its
tractor-trailers;

In then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate tractor-
trailers in its possession when it knew or should
have known that such operation posed risk and
danger to others lawfully on the roadway;

In then and there, failing to adopt appropriate
employee manuals and/or training procedures;

In then and there, failing to enforce its employee
manuals and/or training procedures;

In then and there, failing to enforce both the
written and unwritten policies of Superior Truck
Lines Inc. and/or R.L. Johnson, Inc.;

In then and there, failing to ensure that its
employees were aware of and complied with the
written and unwritten policies of Superior Truck
Lines Inc. and/or R.L. Johnson, Inc.;

In then and there, allowing the Defendants'
Decedent, Jeffrey R. Wooster, to operate
commercial motor vehicles in its possession on a
regular basis prior to qualifying him in accordance
with the Pennsylvania IMCSR and/or FMCSR;

In then and there, failing to adopt and/or enforce
appropriate safety policies and procedures for
drivers;

In then and there, failing to adopt and/or enforce

an effective safety system and/or maintenance
program;

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(p)

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(W)

In then and there, failing to implement and/or
enforce an effective safety system;

In then and there, failing to ensure that its
management personnel and employees/drivers
were aware of the requirements ofthe
Pennsylvania IMCSR, FMCSR, and/or the
Pennsylvania Motor Vehicle Code;

In then and there, consciously violating the
Pennsylvania IMCSR, FMCSR, and/or the
Pennsylvania Motor Vehicle Code;

In then and there, failing to ensure that its
employees and/or agents complied with the
Pennsylvania Motor Vehicle Code, Pennsylvania
IMCSR and/or FMC SR;

In then and there, failing to ensure that its
employees and agents were aware of and complied
with the rules, laws, and regulations pertaining to
and covering the operation of commercial motor
vehicles;

In then and there, failing to ensure that its
deliveries could be made in a safe manner;

In then and there, failing to inspect and/or properly
maintain the 2011 International Harvester tractor-
trailer operated by the Defendants' Decedent,
Jeffrey R. Wooster;

In then and there, failing to inspect and/or properly
maintain the braking system of the 2011
International Harvester tractor-trailer operated by
the Defendants' Decedent, Jeffrey R. Wooster;

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ln then and there, permitting the Defendants'
Decedent, Jeffrey R. Wooster, to operate the 2011
International Harvester tractor-trailer on the public
roadway despite knowing or having reason to
know its braking system had not been inspected
and/ or properly maintained;

In then and there, violating the applicable rules,
laws, and regulations pertaining to and governing
the operation of commercial motor vehicles;

In then and there, failing to monitor and/or
regulate its drivers’ hours;

In then and there, placing more emphasis on
financial status than the safety of its drivers and
the motoring public;

ln then and there, failing to appropriately maintain
the 201 1 International Harvester tractor-trailer;

In then and there, failing to ensure that its drivers
chose safe and appropriate routes of travel when
operating vehicles in its fleet;

ln then and there, failing to ensure that its drivers
heeded road warning signs, including those signs
warning of an upcoming long-term construction
zone with a reduced speed limit;

In then and there, failing to ensure that its drivers

heeded to roadway restrictions in long-term
construction Zones;

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(ff) ln then and there, failing to ensure that its drivers
heeded to speed limit reductions in long-term
construction Zones;

(gg) In then and there, violating the laws of the
Commonwealth of Pennsylvania regulating the
operation of` motor vehicles and/or commercial
vehicles as more particularly set forth in
subparagraphs (a) through (ff), inclusive.

34. The aforesaid careless, negligent, and/or reckless conduct of the
Defendants was a factual cause of the subject collision and painful injuries and
damages to the Plaintiffs, Marilyn A. Giambra, and Plaintiffs Decedent, Patrick
Samuel Giambra.

35. As a result of the carelessness, negligence, and/or recklessness of the
Defendants, the Plaintiff, Marilyn A. Giambra, has sustained severe and painful
injuries including, but not limited to the following:

(a) Neck pain;

(b) Shoulder pain;

(c) Right-sided neck pain;

(d) Lower posterior neck pain;

(e) Sprain of the ligaments of the lumbar spine;
(f) Necessity for oral steroids;

(g) Necessity for prescription pain medications;
(h) Subluxation of C2 and C3;

(i) Aggravation of degenerative changes at L2-L3;
(j) Aggravation of retrospondylothesis of L3-L4;
(k) Straightening of the cervical lordosis;

(l) Disc bulge of annulus at C4-5;

(m) Disc bulge at C6-7;

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(n) Trapezius muscle spasm;

(o) Neck muscle spasm;

(p) Burning neck pain;

(q) Aggravation of cervico-discogenic disease;

(r) Aggravation of spondylosis at C5-6, C7;

(s) Cervical myofascial spasm and trigger points;

(t) Cervical strain/spasms;

(u) Necessity for chiropractic care;

(v) Necessity for massage therapy;

(w) Radiculopathy;

(x) Necessity for trigger point inj ections;

(y) Cervicalgia;

(z) Pain, limitation of motion, and restriction of
activities;

(aa) Inability to perform activities of daily living;

(bb) Emotional distress and anxiety;

(cc) Nightmares, flashbacks, and sleep disturbance;
and

(dd) Fatigue.

36. As a result of the aforesaid injuries, the Plaintiff, Marilyn A.
Giambra, has been rendered sick, sore, and disabled and sustained severe physical,
emotional, and mental pain, discomfort, and distress, all of which have or will
require medical care and treatment.

37. As a result of the aforesaid injuries, the Plaintiff, Marilyn A.
Giambra, is suffering physical and mental discomfort, inconvenience, and anxiety
and may continue to so suffer into the future.

38. As a further result of the aforesaid injuries, the Plaintiff, Marilyn A.

Giambra, has been obligated to receive and undergo medical attention and care

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and to expend various sums of money and incur various expenses for treatment of
the aforesaid injuries, and may be obligated to continue to expend such sums and
incur such expenses for an indefinite period into the future.

39. As a further result of` the negligence, carelessness, and/or recklessness
of the Defendants, the Plaintiff, Marilyn A. Giambra, has been unable to perform
her work activities, and thus, sustained a loss of earnings and/or a decrease or
diminishment in earnings and/or earning capacity.

40. As a further result of the aforesaid injuries, the Plaintiff, Marilyn A.
Giambra, has sustained a loss of everyday pleasures and enjoyments of life, and
may continue to suffer the same for an indefinite period into the future.

41. As a result of the carelessness, negligence, and/or recklessness of the
Defendants, the Plaintiffs Decedent, Patrick Samuel Giambra, sustained severe
and painful injuries including, but not limited to, the following:

(a) Neck pain;

(b) Right rhomboid pain;

(c) Neck contusion;

(d) Neck sprain/strain;

(e) Necessity for prescription pain medications;
(f) Necessity for prescription anti-inflammatories;
(g) Upper back pain;

(h) Bilateral cervical paraspinal spasms;

(i) Trapezius trigger points;

(j) Trigger point in the left cervical paraspinal;
(k) Cervical strain;

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(l) Myofascial spasms;

(m) Necessity for physical therapy;

(n) Necessity for massage therapy;

(o) Necessity for chiropractic care;

(p) Left upper trapezius trigger point;

(q) Radiculopathy;

(r) Left arm weakness;

(s) C4-5 disc herniation;

(t) C6-7 disc bulge;

(u) Aggravation of degenerative disc disease at C5-6;

(v) Necessity for trigger point injections;

(w) Cervical range of motion limitation;

(x) Pain, limitation of motion, and restriction of
activities;

(y) Inability to perform activities of daily living;

(z) Emotional distress and anxiety;

(aa) Nightmares, flashbacks, and sleep disturbance;
and

(bb) Fatigue.

42. As a result of the aforesaid injuries, from September 18, 2015 until
the time of his death, the Plaintiffs Decedent, Patrick Samuel Giambra, was
rendered sick, sore, and disabled and sustained severe physical, emotional, and
mental pain, discomfort, and distress, all of which required medical care and
treatment.

43. As a result of the aforesaid injuries, from September 18, 2015 until
the time of his death, the Plaintiffs Decedent, Patrick Samuel Giambra, suffered

physical and mental discomfort, inconvenience, and anxiety.

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44. As a further result of the aforesaid injuries, from September 18, 2015
until the time of his death, the Plaintiffs Decedent, Patrick Samuel Giambra, was
obligated to receive and undergo medical attention and care and to expend various
sums of money and incur various expenses for treatment of the aforesaid injuries.

45. As a further result of the aforesaid injuries, from September 18, 2015
until the time of his death, the Plaintiffs Decedent, Patrick Samuel Giambra,
sustained a loss of everyday pleasures and enjoyments of life.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, Individually, and as the
Administratrix of the Estate of Patrick Samuel Giambra, hereby claims
compensatory and punitive damages from the Defendants, Christina Devore and
Samara Wooster as the Co-Administrators of the Estate of Jeffrey R. Wooster,
R.L. Johnson, Inc. and Superior Truck Lines Inc. in an amount in excess of that
conferring F ederal Court jurisdiction.

COUNT II - NEGLIGENCE PER SE
MAR_[LYN A. GIAMBRA. INDIVIDUALLY. AND AS THE
ADMINISTRATRIX OF THE ESTATE OF PATRICK SAMUEL
GIAMBRA v. CHRISTINA DEVORE AND SAMARA WOOSTER AS THE
CO-ADMINISTRATORS OF THE ESTATE OF JEFFREY R. WOOSTER

46. The Plaintiff hereby incorporates Paragraphs l through 45 , inclusive,

of the Complaint as though the same were set forth herein at length.

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47. The Plaintiff, Marilyn A. Giambra, lndividually, and as the
Administratrix of the Estate of Patrick Samuel Giambra, is informed, believes and,
therefore avers that the Defendants' Decedent, Jeffrey R. Wooster, violated 75
Pa.C.S. § 3361 of the Pennsylvania Motor Vehicle Code, thereby rendering his
conduct negligent per se.

48. As a result of the aforesaid violation, and the negligence,
carelessness, and/or recklessness of the Defendants' Decedent, Jeffrey R. Wooster,
the Plaintiff, Marilyn A. Giambra, and the Plaintiffs Decedent, Patrick Samuel
Giambra, sustained the injuries, losses, and damages set forth more fully above
and below, which are incorporated as fully as though the same were herein set
forth at length.

49. The Defendants' Decedent, Jeffrey R. Wooster, caused the type of
harm that 75 Pa.C.S. § 3361 was intended to avoid and caused such harm to
persons within the class of persons the aforesaid Statute was intended to protect.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, Individually, and as the
Administratrix of the Estate of Patrick Samuel Giambra, hereby claims
compensatory and punitive damages from the Defendants, Christina Devore and

Samara Wooster as the Co-Administrators of the Estate of Jeffrey R. Wooster,

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R.L. Johnson, Inc. and Superior Truck Lines Inc. in an amount in excess of that
conferring Federal Court jurisdiction
COUNT III - NEGLIGENT ENTRUSTMENT
MARILYN A. GlAMBRA. INDIVIDUALLY. AND AS THE
ADMINISTRATRIX OF THE ESTATE OF PATRICK SAMUEL
GIAMBRA V. R.L. JOHNSON. INC AND SUPERIOR TRUCK LINES INC.

50. The Plaintiff hereby incorporates Paragraphs l through 49, inclusive,
of the Complaint as though the same were set forth herein at length.

51. The Plaintiff, Marilyn A. Giambra, lndividually, and as the
Administratrix of the Estate of Patrick Samuel Giambra, is informed, believes and,
therefore, avers that the Defendant, R.L. Johnson, Inc. and the Defendant, Superior
Truck Lines Inc., were careless, negligent, and/or reckless in entrusting the
aforesaid 2011 International Harvester tractor-trailer to the Defendants' Decedent,
Jeffrey R. Wooster, when they knew or should have known that the Defendants'
Decedent, Jeffrey R. Wooster, lacked the necessary skill, judgment, and prudence
with which to operate the aforesaid tractor-trailer.

52. As a result of the aforesaid carelessness, negligence, and/or
recklessness of the Defendant, R.L. Johnson, Inc. and the Defendant, Superior

Truck Lines Inc., the Plaintiff, Marilyn A. Giambra, and the Plaintiffs Decedent,

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Patrick Samuel Giambra, have sustained the losses and damages set forth more
fully in the preceding and following paragraphs, which paragraphs are
incorporated as fully as though the same were set forth herein at length.
WHEREFC)RE, the Plaintiff, Marilyn A. Giambra, lndividually, and as the

Administratrix of the Estate of Patrick Samuel Giambra, hereby claims
compensatory and punitive damages from the Defendants, Christina Devore and
Samara Wooster as the Co-Administrators of the Estate of Jeffrey R. Wooster,
R.L. Johnson, Inc. and Superior Truck Lines Inc., in an amount in excess of that
conferring Federal Court jurisdiction

COUNT IV - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

MARILYN A. GIAMBRA, INDI`VI_DUALLY V. ALL DEFENDANTS

53. The Plaintiff hereby incorporates Paragraphs l through 52, inclusive,
of the Complaint as though the same were set forth herein at length.

54. At the time of the aforesaid collision, the Plaintiff, Marilyn A.
Giambra, and her now deceased husband, Patrick Samuel Giambra, were both
occupants of the aforesaid 2009 Hyundai Elantra vehicle, and as such, the

Plaintiff, Marilyn A. Giambra, was in the zone of danger.

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55. The Plaintiff, Marilyn A. Giambra, witnessed the harm sustained by
her now deceased husband, Patrick Samuel Giambra, as fully set forth in this
Complaint, as well as the aforesaid negligence, carelessness, and/or recklessness
of the Defendants,

56. As a result of being in the Zone of danger and witnessing the harm to
her now deceased husband, Patrick Samuel Giambra, and observing the
aforementioned acts of negligence, carelessness, and/or recklessness, the Plaintiff,
Marilyn A. Giambra, has been caused to suffer severe fear, anxiety, and emotional
distress that has manifested itself psychologically, emotionally, and physically and
may continue for an indefinite period of time in the future.

57. The Plaintiff, Marilyn A. Giambra, has sustained the aforementioned
fear, anxiety, and emotional distress as a direct and proximate result of the
negligence, carelessness, and/or recklessness of the Defendants,

58. As a result of the aforementioned fear, anxiety, and emotional
distress, the Plaintiff, Marilyn A. Giambra, has sustained, is sustaining, and will
continue to sustain a loss of the everyday pleasures and enjoyments of life.

59. Based upon her relationship with her now deceased husband, Patrick
Samuel Giambra, being in the Zone of danger, and her observation of the aforesaid

acts of negligence, carelessness, and/or recklessness, the Defendants could

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reasonably foresee that the Plaintiff, Marilyn A. Giambra, would suffer great and
severe fear, mental anxiety, and emotional distress upon observing the harm to her
now deceased husband due to the negligence, carelessness, and/or recklessness of
the Defendants, as fully set forth in this Complaint.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, Individually, hereby
claims compensatory and punitive damages from the Defendants, Christina Devore
and Samara Wooster as the Co-Administrators of the Estate of Jeffrey R. Wooster,
R.L. Johnson, Inc. and Superior Truck Lines Inc., in an amount in excess of that
conferring F ederal Court jurisdiction

COUNT V - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
MARILYN A. GIAMBRA. AS THE ADMINISTRATRIX OF THE ESTATE
OF PATRICK SAMUEL GIAMBRA V. ALL DEFENDANTS

60. The Plaintiff hereby incorporates Paragraphs 1 through 59, inclusive,
of the Complaint as though the same were set forth herein at length.

61. At the time of the aforesaid collision, the Plaintiffs Decedent, Patrick
Samuel Giambra, and his wife, Marilyn A. Giambra, were both occupants of the
aforesaid 2009 Hyundai Elantra vehicle, and as such, the Plaintiffs Decedent,

Patrick Samuel Giambra, was in the Zone of danger.

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62. The Plaintiffs Decedent, Patrick Samuel Giambra, witnessed the
harm sustained by his wife, Marilyn A. Giambra, as fully set forth in this
Complaint, as well as the aforesaid negligence, carelessness, and/or recklessness
of the Defendants.

63. As a result of being in the zone of danger and witnessing the harm to
his wife, Marilyn A. Giambra, and observing the aforementioned acts of
negligence, carelessness, and/or recklessness, the Plaintiffs Decedent, Patrick
Samuel Giambra, was caused to suffer severe fear, anxiety, and emotional distress
that manifested itself psychologically, emotionally, and physically from September
18, 2015 until the time of his death.

64. The Plaintiffs Decedent, Patrick Samuel Giambra, sustained the
aforementioned fear, anxiety, and emotional distress as a direct and proximate
result of the negligence, carelessness, and/or recklessness of the Defendants.

65. As a result of the aforementioned fear, anxiety, and emotional
distress, the Plaintiffs Decedent, Patrick Samuel Giambra, sustained a loss of the
everyday pleasures and enjoyments of life from September 18, 2015 until the time
of his death.

66. Based upon his relationship with his wife, Marilyn A. Giambra, being

in the Zone of danger, and his observation of the aforesaid acts of negligence,

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carelessness, and/or recklessness, the Defendants could reasonably foresee that the
Plaintiff‘s Decedent, Patrick Samuel Giambra, would suffer great and severe fear,
mental anxiety, and emotional distress upon observing the harm to his wife due to
the negligence, carelessness, and/or recklessness of the Defendants, as fully set
forth in this Complaint.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, as the Administratrix of
the Estate of Patrick Samuel Giambra, hereby claims compensatory and punitive
damages from the Defendants, Christina Devore and Samara Wooster as the Co-
Administrators of the Estate of Jeffrey R. Wooster, R.L. Johnson, Inc. and
Superior Truck Lines Inc. in an amount in excess of that conferring F ederal Court
jurisdiction

COUNT VI - LOSS OF CONSORTIUM

MARILYN A. GIAMBRA. INDIVIDUALLY V. ALL DEFENDANTS

67. The Plaintiff hereby incorporates Paragraphs 1 through 66, inclusive,
of the Complaint as though the same were set forth herein at length.

68. Solely as a result of the aforesaid negligence, carelessness, and/or
recklessness of the Defendants, the Plaintiff, Marilyn A. Giambra, was deprived of

the society, companionship, aid, assistance, services, and consortium of her now

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deceased husband, Patrick Samuel Giambra, from September 18, 2015 until the
time of his death.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, Individually, hereby
claims compensatory and punitive damages from the Defendants, Christina Devore
and Samara Wooster as the Co-Administrators of the Estate of Jeffrey R. Wooster,
R.L. Johnson, Inc. and Superior Truck Lines Inc., in an amount in excess of that
conferring F ederal Court jurisdiction

COUNT VII - LOSS OF CONSORTIUM
MARILYN A. GIAMBRA.. AS THE ADMINISTRATRIX OF THE ESTATE
OF PATRICK SAMUEL GIAMBRA V. ALL DEFENDANTS

69. The Plaintiff hereby incorporates Paragraphs 1 through 68, inclusive,
of the Complaint as though the same were set forth herein at length.

70. Solely as a result of the aforesaid negligence, carelessness, and/or
recklessness of the Defendants, the Plaintiff‘s Decedent, Patrick Samuel Giambra,
was deprived of the society, companionship, aid, assistance, services, and
consortium of his wife, Marilyn A. Giambra, from September 18, 2015 until the
time of his death.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, as the Administratrix of

the Estate of Patrick Samuel Giambra, hereby claims compensatory and punitive

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damages from the Defendants, Christina Devore and Samara Wooster as the Co-
Administrators of the Estate of Jeffrey R. Wooster, R.L. Johnson, Inc. and
Superior Truck Lines Inc., in an amount in excess of that conferring Federal Court
jurisdiction
COUNT VIII - PUNlTlVE DAMAGES
MARILYN A. GIAMBRA. INDIVIDUALLY. AND AS THE
ADMINISTRATRIX OF THE ESTATE OF PATRICK SAMUEL
GIAMBRA V. ALL DEFENDANTS

71. The Plaintiff hereby incorporates Paragraphs 1 through 70, inclusive,
of the Complaint as though the same were set forth herein at length.

72. The action and/or inaction of the Defendants as set forth at length in
this Complaint and incorporated herein fully as though the same were set forth
herein at length, amount to and consist of the following:

(a) A reckless indifference and/or reckless disregard
to the rights of the Plaintiff, Marilyn A. Giambra,
and the Plaintiffs Decedent, Patrick Samuel

Giambra;

(b) A conscious indifference to the consequences of
their actions; and

(c) A reckless disregard to the health, safety, and
welfare of the Plaintiff, Marilyn A. Giambra, and
the Plaintiffs Decedent, Patrick Samuel Giambra;

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73. The actions and/or inactions of the Defendants, as set forth at length
in this Complaint and incorporated herein fully as through the same were set forth
herein at length, resulted in outrageous, wanton, reckless, and consciously
indifferent conduct and an unreasonable risk of bodily harm to the Plaintiff,
Marilyn A. Giambra, and the Plaintiffs Decedent, Patrick Samuel Giambra, as a
result of which the Plaintiff is entitled to punitive damages from the Defendants.

WHEREFORE, the Plaintiff, Marilyn A. Giambra, Individually, and as the
Administratrix of the Estate of Patrick Samuel Giambra, hereby claims punitive
damages from the Defendants, Christina Devore and Samara Wooster as the Co-
Administrators of the Estate of Jeffrey R. Wooster, R.L. Johnson, Inc. and
Superior Truck Lines Inc., in an amount in excess of that conferring F ederal Court
jurisdiction

Respectfully submitted,

HOURIGAN, KLUGER & QUINN, P.C.

BY‘:i/@MMW.Wv/z>
Nicole M. San{o, Esquire
Hourigan, Kluger & Quinn, P.C.
600 Third Avenue
Kingston, PA 18704
Phone No: (570) 287-3000
Fax No: (570) 287-8005

E-mail: nsanto(c_iihkqpc.com
Identification Number: PA 309043

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M
I, MARILYN A. GIAMBRA, Individually, and as the Administratrix of the Estate of
Patrick Samuel Giambra, Plaintiffs herein, do hereby certify that the facts set forth in the
foregoing Complaint are true and correct to the best of my knowledge, information and belief.
This Verification is made subject to the penalties of 18 Pa. C.S.A. § 4904 relating to unsworn

falsification to authorities

j M I. Ma-rr,/i;w

MARILNA. GIAMBRA

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